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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,
              Plaintiff,                                Case No. 14-cr-20119
v.                                                     Honorable Nancy G. Edmunds
DAVID LAMAR GAY, D-9,

              Defendant.
_______________________________/

              ORDER DENYING PRO SE MOTIONS [581, 604, 612, 616]

      Defendant David Lamar Gay is currently in the custody of the Federal Bureau of

Prisons (“BOP”). The matter is before the Court on Defendant’s pro se motion for

compassionate release and three pro se letter motions related to the applicable

sentencing guidelines and his sentencing calculation. (ECF Nos. 581, 604, 612, 616.) The

government opposes Defendant’s motion for compassionate release because Defendant

failed to exhaust his administrative remedies. (ECF No. 613.) The Court has reviewed

the record and finds that a hearing is not necessary. For the reasons set forth below, the

Court DENIES Defendant’s motions.

I.    Background

      On March 4, 2015, Defendant was charged in a third superseding indictment with

conspiring to violate the Racketeer Influenced and Corrupt Organizations Act (“RICO

Conspiracy”) under 18 U.S.C. 1962(d), Murder in Aid of Racketeering Activity in violation

of 18 U.S.C. §§ 1959(a)(1) and (2), Using and Carrying a Firearm During and in Relation

to a Crime of Violence Causing Death in violation of 18 U.S.C. § 924(j), and Possession

of a Firearm in Furtherance of a Crime of Violence in violation of 18 U.S.C. § 924(c). (ECF

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No. 152.) The charges against Defendant stemmed from his participation in and

association with the Bounty Hunter Gang, a violent street gang associated with the Bounty

Hunters Watts and Bloods street gangs of Los Angeles.

      On June 23, 2015, Defendant pleaded guilty to RICO Conspiracy pursuant to a

Rule 11 plea agreement. (ECF No. 281.) In that plea agreement, the parties

recommended that the Court find Defendant’s guideline range to be life imprisonment.

(Id.) The parties agreed, however, that pursuant to Federal Rule of Civil Procedure

11(c)(1)(C), Defendant’s sentence of imprisonment should not exceed 240 months. (Id.)

      On December 17, 2015, this Court sentenced Defendant to a 210-month term of

imprisonment. In imposing sentence, the Court exercised its discretion and varied

downward from the 240-month term agreed to by the parties in the Rule 11 plea

agreement. Defendant remains incarcerated today and is currently being held at FCI

Fairton in Fairton, New Jersey. His projected release date is May 5, 2031.

      Defendant now moves the Court for compassionate release under 18 U.S.C.

§ 3582(c)(1)(A). He also requests, through several letter motions, that the Court explain

to him how his sentencing guideline range was calculated so that he may be able to

reduce his sentence through a subsequent motion. Finally, Defendant asks the Court to

give him time off of his federal sentence for the year he spent in Wayne County Jail

pursuant to a sentence imposed by the Third Judicial Circuit Court of Michigan.

II.   Law and Analysis

      A.     Motion for Compassionate Release

      By statute, a district court “may not modify a term of imprisonment once it has been

imposed.” 18 U.S.C. § 3582(c). But that rule comes with a few exceptions, one of which



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permits compassionate release. Under this authority, a motion for reduction in sentence

for “extraordinary and compelling reasons” can be filed with the court if the defendant has

exhausted his administrative remedies. See United States v. Alam, 960 F.3d 831, 833-35

(6th Cir. 2020)). Once a defendant exhausts his remedies, the Court may consider his

motion by determining (1) whether extraordinary and compelling reasons warrant a

sentence reduction; (2) whether such a reduction would be consistent with any applicable

policy statements issued by the Sentencing Commission; and (3) whether the balance of

relevant sentencing factors weighs in favor of early release. United States v. Elias, 984

F.3d 516, 518 (6th Cir. 2021). “If each of those requirements are met, the district court

‘may reduce the term of imprisonment,’ but need not do so.” Id. (quoting 18 U.S.C.

§ 3582(c)(1)(A)).

      Here, Defendant has not alleged that he submitted a request for early release to

the Bureau of Prisons, nor has he produced any documentary evidence to prove that he

has exhausted his administrative remedies. Thus, his motion is denied on that basis. The

Court notes, however, that even if Defendant had submitted evidence of exhaustion,

Defendant does not meet the other requirements for compassionate release outlined by

the Sixth Circuit. See Elias, 984 F.3d at 518. First, Defendant does not provide

extraordinary and compelling reasons for a sentence modification. He states in his motion

that he has not been charged with any crimes since 2009 and has not been accused of

violent conduct since he has been incarcerated. But “[r]ehabilitation of the defendant

alone shall not be considered an extraordinary and compelling reason.” United States v.

Jones, 980 F.3d 1098, 1109 n. 16 (quoting 28 U.S.C. § 994(t)). Additionally, the Court

finds that the balance of § 3553(a) factors does not favor early release.



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       B.     Letter Motions

       In regards to Defendant’s letter requests sent to the Court in November of 2020,

May of 2021, and September of 2021, the Court encourages Defendant to speak with a

competent attorney if he has questions regarding his case or sentence. The Court is

unable to provide legal advice. For this reason, his letter requests are denied. The Court

notes, however, that while Defendant is encouraged to speak with an attorney for answers

to his questions, to the extent Defendant seeks to learn more about his case to lessen his

term of incarceration through additional motions, he should first refer to the statute cited

above and the limitations on this Court’s authority after sentencing.

III.   Conclusion

       For the foregoing reasons, Defendant’s motion for compassionate release (ECF

No. 612) and Defendant’s letter motions (ECF Nos. 581, 604, 616) are DENIED.

       SO ORDERED.
                                              s/ Nancy G. Edmunds
                                              Nancy G. Edmunds
Dated: October 21, 2021                       United States District Court Judge



I hereby certify that a copy of the foregoing document was served upon counsel of record
on October 21, 2021, by electronic and/or ordinary mail.


                           s/ Lisa Bartlett
                           Case Manager




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